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Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
for the
DISTRICT OF NEW JERSEY

DANIEL TRIPO,
CIVIL NO. 11-2050-FLW-DEA
Plaintiff,

~against- DECLARATION

ROBERT WOOD JOHNSON MEDICAL CENTER,
SYLVIANA BARSOUM, M.D.,:- RENU CHHOKRA,

M.D., and ARLEEN LAMBA, M.D.. Document Filed Electronically
Defendants.

ANTHONY A. LENZA, JR., an attorney duly admitted to practice
law before the United States District Court for the District of
New Jersey, hereby declares, pursuant to 28 U.S.C. § 1746, under
penalty of perjury:

1. Io am a member of the law firm of Amabile & Erman, P.C.,
attorneys of record for plaintiff, DANIEL TRIPO.

2. I am fully familiar with the facts and circumstances of
this action known to date.

3. This Declaration is respectfully submitted in
opposition to defendant SYLVIANA BARSOUM, M.D., RENU CHHOKRA,
M.D., and ARLEEN LAMBA, M.D.’s motion for summary judgment and in

support of plaintiff’s cross-motion for an Order granting leave

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to file late notices of claim against defendants, SYLVIANA
BARSOUM, M.D., RENU CHHOKRA, M.D., and ARLEEN LAMBA, M.D.,
pursuant to the New Jersey Tort Claims Act, N.J.S.A. 59:8-9 or in
the alternative, deeming the late Notice of Claim served on
August 9, 2011 timely served nunc pro tunc.

4, Attached hereto are plaintiff’s Memorandum of Law and
plaintiff’s Statement and Counter-Statement of Material Facts.

5. A true and accurate copy of the Affidavit of Daniel
Tripo is attached hereto as Exhibit “A”.

6. Plaintiff retained my office on March 2, 2010 to
investigate a potential medical malpractice case against Robert
Wood Johnson Medical Center and the medical providers who
rendered anesthesia services to plaintiff regarding his surgery
on January 12, 2010.

7. On March 3, 2010, I mailed a request to Robert Wood
Johnson Medical Center to obtain a copy of plaintiff’s records.
See correspondence attached hereto as Exhibit “B”.

8. On May 19, 2010, I mailed a second request to Robert
Wood Johnson Medical Center to obtain a copy of plaintiff's
records. See correspondence attached hereto as Exhibit “B”.

9. On August 30, 2010, my office received an invoice from
Robert Wood Johnson Medical Center for duplication costs. See
correspondence attached hereto as Exhibit “B”.

10. On or about August 31, 2010, my office mailed payment

to Robert Wood Johnson Medical Center for said records. See copy

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of check and check stub attached hereto as Exhibit “B”.

11. On or about October 26, 2010, I mailed a letter to
Robert Wood Johnson Medical Center Stating that we had not yet
received a copy of their records despite payment of same almost
two months prior. See correspondence attached hereto as Exhibit
“BY,

12. A copy of Robert Wood Johnson Medical Center's records
was received by my office on November 1, 2010. See
correspondence attached hereto as Exhibit “B”.

13. A true and accurate copy of an anesthesia follow up
note dated January 13, 2010 authored by Dr. Barsoum is attached
hereto as Exhibit “C”.

14. A true and accurate copy of a notice of claim and cover
letter dated August 9, 2011 is attached hereto as Exhibit “D”.,

WHEREFORE, it is respectfully requested that defendants’
motion be denied and the instant cross-motion be granted in its
entirety.

Dated: August 11, 2011
AMABILE & ERMAN, P.C.

Attorney for Plaintiff
aa a

ANTHONY A. LENZA, JR.
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